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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          ED CV 20-120 PA (KKx)                                        Date    March 16, 2020
 Title             Jose Madriz v. Four-C Commercial, et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
                  T. Jackson                               Not Reported                         N/A
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                  IN CHAMBERS

    The Court has received a letter and Application for Stay on behalf of defendant Four-C
Commercial (“Defendant”). The Clerk is ordered to file the letter and Application for Stay.

         The parties are directed to Local Rule 83-2.5, which provides:

                    Attorneys or parties to any action or proceeding shall refrain from
                    writing letters to the judge, sending e-mail messages to the judge,
                    making telephone calls to chambers, or otherwise communicating
                    with a judge in a pending matter unless opposing counsel is present.
                    All matters must be called to a judge’s attention by appropriate
                    application or motion filed in compliance with these Local Rules.

Local Rule 83-2.5. In the future, the Court will not accept any letters or other communications
that do not comply with the Local Rules. Further violations of the Federal Rules of Civil
Procedure or the Local Rules may result in the imposition of sanctions.

        On February 25, 2020, plaintiff’s counsel submitted a Declaration in response to the
Court’s Order to Show Cause in which plaintiff’s counsel apologized for not having timely filed
a request for entry of default. Plaintiff thereafter sought entry of Defendant’s default. Plaintiff’s
counsel’s Declaration did not mention anything about having been contacted by Defendant.
However, according to Defendant’s letter, Defendant, which is not currently represented by
counsel, communicated with counsel for plaintiff “numerous times” and provided a CASp report
showing that Defendant is in compliance with the ADA’s accessibility standards. Defendant
states that it was under the impression that plaintiff was dropping the case.

       Given the early stage of the proceedings, the preference for resolving matters on the
merits, and the fact that plaintiff has not yet obtained a Judgment, the Court vacates the default
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                              UNITED STATES DISTRICT COURT
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entered on March 2, 2020. See Mendoza v. Wight Vineyard Mgmt., 783 F.2d 941, 945-46 (9th
Cir. 1986) (“Where timely relief is sought from a default and the movant has a meritorious
defense, doubt, if any, should be resolved in favor of the motion to set aside default so that cases
may be decided on their merits.”).

       Although Defendant has submitted its Application for Stay on the Judicial Counsel’s form
for use in California Superior Court, the Court construes the Application for Stay as having been
submitted in compliance with the Court’s ADA Disability Access Litigation program.
Consistent with that program, plaintiff has until March 23, 2020, to oppose Defendant’s
Application for Stay. The Court notes that, under the Court’s program, Defendant, which is a
corporation, is not required to hire an attorney to file the Application for Stay and Early
Mediation. However, if the action cannot be resolved through mediation, entity defendants,
including corporations, may not file an Answer or otherwise appear in the action without an
attorney. See Local Rule 83-2.2.2. The Clerk is ordered to serve a copy of the Court’s ADA
Disability Access Litigation packet on Defendant. In the future, Defendant shall use the forms
available on this Court’s website (http://www.cacd.uscourts.gov/court-procedures/forms), rather
than those prepared for use in California Superior Court.

       The Court orders plaintiff’s counsel to show cause in writing why plaintiff and his
counsel should not be sanctioned in an amount up to $2,000.00 for failing to notify the Court
that Defendant had been in communication with plaintiff’s counsel prior to plaintiff having
sought entry of Defendant’s default. Plaintiff and plaintiff’s counsel shall respond to this Order
to Show Cause by no later than March 25, 2020.

         IT IS SO ORDERED.


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                                                           Initials of Preparer




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